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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  -----------------------------------------------------------------------X
  JOAQUIN ORELLANA CASTANEDA and                                          :
  GERMAN HERNANDEZ ARGUETA,                                               :
                                                                          :
                             Plaintiffs,                                  :
                                                                          :
                    v.                                                    : DECISION & ORDER
                                                                          : 17-CV-4267 (WFK)
  COUNTY OF SUFFOLK, STEVEN BELLONE                                       :
  County Executive, County of Suffolk, in his Official                    :
  Capacity, SUFFOLK COUNTY SHERIFF'S OFFICE,                              :
  VINCENT F. DEMARCO Sheriff, Suffolk County Sheriff's :
  Office, in his Official Capacity, OTHER INDIVIDUALS :
  IN CHARGE TO BE IDENTIFIED and                                          :
  ERROL TOULON, JR. Sheriff, Suffolk County                               :
  Sheriff’s Office, in his Official Capacity,                             :
                                                                          :
                                                                          :
                             Defendants.                                  :
  ------------------------------------------------------------------------X
  WILLIAM F. KUNTZ, II, United States District Judge:
  Named Plaintiffs Joaquin Orellana Castaneda (“Plaintiff Orellana”) and German Hernandez
  Argueta (“Plaintiff Hernandez”), bring this class action against the County of Suffolk, the
  Suffolk County Sherriff’s Office, County Executive Steven Bellone in his official capacity, and
  Suffolk County Sheriff Errol Toulon, Jr. in his official capacity (collectively, “Defendants”),
  alleging violations of Plaintiffs’ rights under the Fourth and Fourteenth Amendments of the
  United States Constitution and under the First Article of the New York State Constitution.
  Before the Court are the parties’ cross motions for summary judgment. For the reasons stated
  herein, Plaintiffs’ motion is GRANTED and Defendants’ motion is GRANTED in part and
  DENIED in part.

                                          I.   INTRODUCTION

         Pursuant to the Immigration and Nationality Act (“INA”), codified as amended at 8

  U.S.C. 1101 et seq., the Attorney General of the United States “can exercise discretion to issue a

  warrant for an alien’s arrest and detention ‘pending a decision on whether the alien is to be

  removed from the United States.’” Arizona v. United States, 567 U.S. 387, 407 (2012) (quoting

  8. U.S.C. § 1226(a)). While the INA gives federal officers significant discretion to apprehend

  individuals believed to be removable aliens, “federal law specifies limited circumstances in

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  which state officers may perform the functions of an immigration officer.” Id. at 408. Section

  287(g) of the INA, codified at 8 U.S.C. 1357(g), empowers the Attorney General to authorize

  certain state or local officers to “perform a function of an immigration officer in relation to the

  investigation, apprehension, or detention of aliens in the United States” in instances where the

  Attorney General has entered into a written agreement with the relevant state or local entity. 8

  U.S.C. § 1357(g)(1). State or local officers covered by these 287(g) agreements “are subject to

  the Attorney General’s direction and supervision.” Arizona, 567 U.S. at 409. Section 287(g)

  also permits local law enforcement “to cooperate with the Attorney General in the identification,

  apprehension, detention, or removal of aliens not lawfully present in the United States” absent an

  agreement. 8 U.S.C. § 1357(g)(10)(B). As the Supreme Court has remarked, “[t]here may be

  some ambiguity as to what constitutes cooperation under the federal law; but no coherent

  understanding of the term would incorporate the unilateral decision of state officers to arrest an

  alien for being removable absent any request, approval, or other instruction from the Federal

  Government.” Arizona, 567 U.S. at 410.

         The federal regulation governing immigration detainers, promulgated pursuant to the

  INA, details what the delegation process to local law enforcement entails:

         Any authorized immigration officer may at any time issue a Form I–247,
         Immigration Detainer–Notice of Action, to any other Federal, State, or local law
         enforcement agency. A detainer serves to advise another law enforcement agency
         that the Department seeks custody of an alien presently in the custody of that
         agency, for the purpose of arresting and removing the alien. The detainer is a
         request that such agency advise the Department, prior to release of the alien, in
         order for the Department to arrange to assume custody, in situations when gaining
         immediate physical custody is either impracticable or impossible. . . . Upon a
         determination by the Department to issue a detainer for an alien not otherwise
         detained by a criminal justice agency, such agency shall maintain custody of the
         alien for a period not to exceed 48 hours, excluding Saturdays, Sundays, and
         holidays in order to permit assumption of custody by the Department.




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         8 C.F.R. § 287.7. As the language suggests, a detainer is merely a request. Just as state

  and local agencies have the choice to enter into a 287(g) agreement, the regulation governing

  detainers does not impose mandatory obligations on state and local law enforcement agencies to

  honor detainer requests issued by federal officers. See Galarza v. Szalczyk, 745 F.3d 634, 639-

  43 (3d Cir. 2014).

                                         II.    BACKGROUND

         Plaintiffs Orellana and Hernandez brought this suit against Defendants on behalf of a

  class of all persons who, from July 18, 2014 through November 15, 2018, were detained by the

  Suffolk County Sheriff’s Office (“SCSO”) pursuant to an ICE immigration detainer request after

  the SCSO’s detention authority had expired, alleging violations of their rights under the Fourth

  and Fourteenth Amendments of the United States Constitution and under the First Article of the

  New York State Constitution. Second Amended Complaint (“SAC”), ECF No. 37; Report and

  Recommendation (“R&R”), ECF No. 129, Order Adopting R&R, ECF No. 143. On July 1,

  2024, following oral argument, this Court granted Plaintiffs’ Motion for class certification and

  directed the parties to refile their cross-motions for summary judgment. See Order Adopting

  R&R. Plaintiffs’ renewed motion, which was fully briefed on October 23, 2024, argues

  Plaintiffs are entitled to summary judgment as to liability on their state law and Fourth

  Amendment claims. See Pls’. Mem. Supp. Summ. J. (“Pls. Mem.”), ECF No. 150-1; Defs.’

  Mem. Opp’n Summ. J. (“Defs. Opp’n”), ECF No. 152; Pls.’ Reply Supp. Summ. J., ECF No.

  150-30. Defendants’ renewed motion, which was fully briefed on December 6, 2024, argues

  Defendants are entitled to summary judgment on all Plaintiffs’ claims. See Defs.’ Mem. Supp.

  Summ. J. (“Defs. Mem.”), ECF No. 160-39; Pls.’ Mem. Opp’n Summ. J. (“Pls. Opp’n”), ECF

  No. 161, Defs.’ Reply Supp. Summ. J. (“Defs.’ Reply”) ECF No. 160-41.



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      A.   Factual Background

           Unless otherwise stated, the following facts are undisputed and drawn from the parties’

  Local Rule 56.1 Statements, declarations, deposition testimony, and other evidence submitted in

  support of the motion. Fed. R. Civ. P. 56(c). See generally Pls.’ Local Rule 56.1(a) Stmt. of

  Undisputed Material Facts (“Pls.’ Stmt.”), ECF No. 150-2; Defs.’ Resp. to Pls.’ Local Rule

  56.1(a) Stmt. (“Defs.’ Resp. Stmt.”), ECF No. 152-1; Pls.’ Reply to Defs.’ Resp. Stmt. (“Pls.’

  Reply Stmt.”); ECF No. 150-31; Defs.’ Local Rule 56.1(a) Stmt. of Undisputed Material Facts

  (“Defs.’ Stmt.”), ECF No. 160-38; Pls.’ Resp. to Defs.’ Local Rule 56.1(a) Stmt. (“Pls.’ Resp.

  Stmt.”), ECF No. 161-1; Defs.’ Reply to Pls.’ Resp. Stmt. (“Defs.’ Reply Stmt.”); ECF No. 160-

  40; see also Defs.’ Resp. to Pls.’ Original Local Rule 56.1 Stmt. of Undisputed Material Facts

  (“Defs.’ Original Resp. Stmt.”), ECF No. 34. 1

           Defendant County of Suffolk is a municipal corporation of the State of New York that

  has direct authority over Defendant Suffolk County Sherriff’s Office (“SCSO”), an entity,

  agency, and/or subdivision of the County. Pls.’ Stmt. ¶¶ 4-5, 8. Defendant Steven Bellone

  served as the County Executive of the County of Suffolk during the relevant period. Id. ¶ 6.

  Defendant Errol Toulon, Jr., who is the Suffolk County Sheriff, has direct authority over the

  SCSO. Id. ¶ 9.

           Federal regulation 8 C.F.R. § 287.7, which was promulgated pursuant to Section

  103(a)(3) of the Immigration and Nationality Act, permits the Department of Homeland Security

  (“DHS”), through its division of U.S. Immigration and Customs Enforcement (“ICE”), to issue




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    On October 23, 2024, Plaintiffs filed a motion to strike certain of Defendants’ responses to Plaintiffs’ renewed
  local 56.1 statements, arguing those responses differed from their responses to Plaintiffs’ original motion, despite
  the facts remaining the same. See ECF No. 151-1. On December 19, 2024, the Court granted Plaintiffs’ motion.
  ECF No. 165. As a result, the Court relies on Defendants’ original responses, ECF No. 34, where the renewed
  responses are inconsistent.

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  immigration detainer requests to local law enforcement agencies. Ex. H. to Badini Decl., ECF

  No. 150-11. These detainer requests (Form I-247D or Form I-247X), which are generally

  accompanied by a DHS administrative warrant for the arrest of an alien (Form I-200) or for

  removal/deportation (Form I-205), which are both civil in nature, communicate to local law

  enforcement that ICE has reason to believe an individual currently in the custody of local law

  enforcement is subject to removal from the United States. Defs.’ Stmt. ¶ 41; Ex. H to Badini

  Decl.; Ex. J. to Badini Decl. at 113:7-13, ECF No. 150-13. These detainer requests ask local law

  enforcement to detain the subject individual for up to 48 hours after he or she would otherwise

  be subject to release to allow ICE to assume custody. Defs.’ Stmt. ¶ 41; Ex. H. to Badini Decl.

  A detainer request requires the local law enforcement agency to serve the detainer request on the

  subject individual. Ex. I to Badini Decl. at COS 00000003, ECF No. 150-1 (“The alien must be

  served with a copy of this form for the detainer to take effect.”); see also Ex. J. to Badini Dec. at

  149-50.

         It is undisputed that, between December 2, 2016 and November 15, 2018, the SCSO had

  an official policy of honoring ICE detainer requests and corresponding warrants. Pls.’ Stmt. ¶

  19. On November 15, 2018, Defendant Sheriff Toulon, Jr. issued a memorandum to SCSO

  personnel explaining that the SCSO’s policy, as of that date, was not to hold individuals on the

  basis of ICE detainer requests. Pls.’ Stmt. ¶ 27; Def. Resp. ¶ 23. While the SCSO continued to

  accept detainer requests and alert ICE of suspected undocumented individuals through at least

  October 2021, Pls.’ Stmt. ¶ 28; Defs.’ Original Resp. Stmt. ¶ 24., no individuals were detained

  past November 15, 2018, Defs.’ Stmt. ¶ 43.

         On April 23, 2017, Plaintiff Orellana was arrested by the Suffolk County Policy

  Department (“SCPD”) for traffic violations and remanded to the custody of the SCSO. Defs.’



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  Stmt. ¶¶ 4, 6. On April 24, 2017, ICE issued a detainer request and accompanying I-200

  administrative warrant for Plaintiff Orellana. Defs.’ Stmt. ¶ 9. The certificate of service on

  Plaintiff Orellana’s detainer request, which was to be filled out by the SCSO after Plaintiff

  Orellana was served, was left blank. Pls.’ Stmt. ¶ 32. Also on April 24, 2017, Plaintiff

  Orellana’s bail was posted by his cousin. Id. ¶33. However, instead of being released, Plaintiff

  Orellana was detained by the SCSO pursuant to the ICE detainer and corresponding

  administrative warrant. Id. ¶¶ 34-35. The SCSO sent a memorandum to ICE informing the

  agency that Plaintiff Orellana was being held “ON YOUR DETAINER ONLY AND NO

  LONGER HA[S] CHARGES IN SUFFOLK COUNTY.” Ex. I to Badini Decl. at

  COS00000009. Plaintiff Orellana was held by the SCSO until April 26, 2017, at which time ICE

  assumed custody of him. Pls.’ Stmt. ¶¶ 37-38.

         On July 2, 2017, Plaintiff Hernandez was arrested by the SCPD on a charge of false

  personation and subsequently remanded to the custody of the SCSO. Pls.’ Stmt. ¶ 39-40. On

  July 7, 2017, ICE issued a detainer and accompanying I-200 administrative warrant for Plaintiff

  Hernandez. Id. ¶ 41. The certificate of service on Plaintiff Hernandez’s detainer request, which

  was to be filled out by the SCSO after Plaintiff Hernandez was served, was left blank. Id. ¶ 42.

  On August 18, 2017, Plaintiff Hernandez pled guilty to a disorderly conduct violation and was

  sentenced to time served. Id. ¶ 43. Despite receiving a sentence of time served, Plaintiff

  Hernandez was detained by the SCSO until later that same evening, at which time he was

  transferred to ICE custody. Id. ¶ 44. On January 23, 2018, Plaintiff Hernandez was released on

  bond from ICE custody. Id. ¶ 45.

         On March 9, 2018, Plaintiff Hernandez was again arrested by officers of the SCPD on

  charges of false personation and criminal possession of a weapon. Id. ¶ 46. Plaintiff Hernandez



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  was taken into SCSO custody on March 10, 2018. Id. ¶ 47. Also on March 10, 2018, ICE issued

  a detainer request for Plaintiff Hernandez. Id. ¶ 48. Again, the certificate of service was left

  blank. Id. ¶ 49. On March 30, 2018, Plaintiff Hernandez took a plea agreement of one day’s

  adjournment in contemplation of dismissal. Id. ¶ 50. That same day, the SCSO sent a

  memorandum to ICE with language identical to that in the memorandum pertaining to Plaintiff

  Orellana, explaining Plaintiff Hernandez no longer had charges in Suffolk County and was

  instead being held solely pursuant to the ICE detainer. Id. ¶ 51. Despite his plea, Plaintiff

  Hernandez remained in the custody of the SCSO until April 2, 2018, at which time he was

  transferred to ICE custody. Id. ¶ 52.

           As previously noted, the certificates of service on the detainers were left blank for both

  Plaintiff Orellana and Plaintiff Hernandez. Pls. Stmt. ¶¶ 32, 42, 49. The SCSO did not serve the

  ICE detainer requests on Plaintiffs. Id. ¶ 17; Defs.’ Original Resp. Stmt. ¶ 14. Further, the

  SCSO did not take any steps to notify Plaintiffs of the detainer requests lodged against them.

  Pls.’ Stmt. ¶ 18. In addition to Plaintiffs Orellana and Hernandez, Defendants have produced

  hundreds of inmate jackets 2 for individuals held solely on detainer request beyond the time they

  otherwise would have been released. Id. ¶ 55. Approximately 650 of these individuals make up

  the class. Id. ¶ 57. If not for the detainer requests, these individuals would have been released

  from SCSO custody upon resolution of their state cases. Id.¶ 55; Defs. Original Resp. Stmt. ¶

  55.

      B.   Procedural History

           On July 18, 2017, Plaintiff Joaquin Orellana Castaneda filed his initial complaint, naming

  as defendants (1) the U.S. Department Of Homeland Security (“DHS”); (2) John F. Kelly,


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    An inmate jacket is a compilation of records kept by the SCSO containing the processing documents and warrants
  related to a particular inmate. Pls. Stmt. ¶ 56.

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  Secretary, U.S. Department of Homeland Security, in his official capacity; (3) Elaine C. Duke,

  Deputy Secretary, DHS, in her official capacity; (4) ICE; (5) Thomas D. Homan, Acting

  Director, ICE, in his official capacity; (6) Matthew T. Albence, Executive Associate Director,

  ICE, in his official capacity; (7) County of Suffolk; (8) Steven Bellone, County Executive,

  County of Suffolk, in his official capacity; (9) Suffolk County Sheriff’s Office; (10) Vincent F.

  DeMarco, Sheriff, Suffolk County Sheriff’s Office, in his official capacity. ECF No. 1.

         On August 18, 2017, Plaintiff Orellana filed an amended complaint in which Plaintiff

  Hernandez was added as a plaintiff, and the titles and names of certain defendants were altered.

  ECF Nos. 12-13. Plaintiff Hernandez also filed a petition for a writ of habeas corpus with the

  amended complaint. Id.

         On January 1, 2018, the action was dismissed with respect to the federal Defendants.

  ECF No. 30.

         On May 9, 2018, Plaintiff Orellana and Plaintiff Hernandez filed a second amended

  complaint, now operative, against (1) County of Suffolk; (2) Steven Bellone, County Executive,

  County of Suffolk, in his official capacity; (3) Suffolk County Sheriff’s Office; and (4) Errol

  Toulon, Jr., Sheriff, Suffolk County Sheriff’s Office, in his official capacity. See generally SAC.

  In their second amended complaint, Plaintiffs allege the “SCSO’s policy of unquestioning

  compliance” with “‘detainer’ requests from the federal government agency Immigrations and

  Customs Enforcement” violated Plaintiffs’ rights under the Fourth and Fourteenth Amendments

  of the United States Constitution and the First Article of the New York Constitution. Id. ¶ 1. In

  addition to these constitutional claims, Plaintiff Hernandez seeks, on his behalf and on behalf of

  similarly situated individuals, declaratory and injunctive relief under the Administrative




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  Procedures Act, 5 U.S.C. § 706(a) and under the Fourth and Tenth Amendments of the United

  States Constitution. Id. ¶ 7.

         On May 8, 2020, Defendants filed a fully briefed motion to dismiss the second amended

  complaint, which Plaintiffs opposed. ECF No. 84.

         On July 30, 2021, Plaintiffs filed a fully briefed motion to certify a class, ECF Nos. 98,

  100, 101, which Defendants opposed, ECF No. 99.

         On November 12, 2021, Defendants filed a motion for summary judgment, ECF No. 113,

  which Plaintiffs opposed, ECF No. 115. That same day, Plaintiffs filed a cross-motion for

  summary judgment, ECF No. 114, which Defendants opposed, ECF No. 116.

         On May 9, 2022, the Court denied both motions for summary judgment, without opinion

  and without prejudice, with leave to renew. ECF No. 123. The Court reaffirmed its denial on

  May 12, 2022. ECF No. 125.

         On August 31, 2022, Magistrate Judge Arlene R. Lindsay issued a Report and

  Recommendation (“R&R”), in which she recommended granting Plaintiffs’ motion for class

  certification. R&R, ECF No. 129. On September 14, 2022, Defendants timely filed objections

  to the R&R. ECF No. 130. On September 27, 2022, Plaintiffs filed a response in opposition to

  Defendants’ objections to the R&R. ECF No. 132.

         On July 1, 2024, following oral argument, the Court granted Plaintiffs’ Motion for class

  certification and directed the parties to refile their cross-motions for summary judgment, which

  are currently before the Court. See Order Adopting R&R.

  C.     People ex rel. Wells v. DeMarco

         On November 14, 2018, during the pendency of this litigation, the Second Department

  issued a decision in People ex rel. Wells v. DeMarco, in which they considered the issue of



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 “whether New York law permits New York state and local law enforcement officers to effectuate

 civil immigration arrests.” 168 A.D.3d 31, 34 (N.Y. App. Div. 2d Dep’t 2018).

        The Wells case centers on Susai Francis, a citizen of India who entered the United States

 on a work visa in 1996 which allowed him to remain in the country for six months. Id. Francis

 did not leave the United States after the term of his visa expired, but rather stayed in Long Island

 for over two decades with his family. Id. On June 14, 2017, Francis was arrested on two

 misdemeanor counts and was held in Nassau County Correctional Center. Id. Upon his arrest by

 local law enforcement, ICE provided a detainer and arrest warrant to the Nassau County Policy

 Department, requesting “the Police Department notify ICE as soon as practicable before Francis

 was released from custody, on at least 48 hours’ notice, if possible.” Id. at 35. On December 4,

 2017, after being transferred to the custody of Suffolk County for proceedings in his case,

 Francis pled guilty to one count of disorderly conduct in Suffolk County District Court and was

 sentenced to time served. Id. However, Francis was not released and was instead remanded

 from the Nassau County Correctional Center to the Suffolk County Correctional Facility in

 Riverhead (the “Riverhead facility”). Id. Francis’s paperwork was “‘re-written’ from being an

 ‘adult male misdemeanor’ case to be being an ‘adult male warrant’ case based on the ICE

 warrant, and Francis was regarded by the Sheriff as being in the custody of ICE. Francis was

 placed in a jail cell rented by ICE.” Id. at 36. This action, the Wells court found, was consistent

 with policy issued by the SCSO on December 2, 2016, “under which inmates subject to either an

 ICE detainer accompanied by a United States Department of Homeland Security (hereinafter

 DHS) Warrant for Arrest of Alien, and/or DHS Warrant of Removal/Deportation, are to be held

 for up to 48 hours after the time they would otherwise have been released, with ICE to be

 notified immediately.” Id. at 35.



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        While Francis was at the Riverhead facility, Jordan Wells, an attorney with the New York

 Civil Liberties Union Foundation, filed a habeas petition on Francis’s behalf, challenging the

 constitutionality of Francis’s confinement and detention pursuant to the ICE warrant and

 detainer. Id. at 36.

        Two days after being remanded to the Riverhead facility, ICE agents retrieved Francis

 and transferred him to a long-term ICE detention facility. Id. As of January 5, 2018, Francis

 was in ICE custody at the Bergen County Jail in Hackensack, New Jersey, pending removal

 proceedings in Immigration Court. Id.

        The Wells court focused primarily on the question of whether detention pursuant to an

 ICE detainer and warrant constitutes an arrest, and, if so, whether New York State law

 enforcement officials have authority to make such arrests. Id. at 39-40. The Wells court first

 discussed the issue of the arrest:

        New York state and federal law mirror each other regarding what constitutes an
        arrest (see Florida v Royer, 460 US 491, 502 [1983] [a showing of official authority
        such that “a reasonable person would have believed that he was not free to leave”
        indicates that an arrest has occurred under the Fourth Amendment of the United
        State Constitution (internal quotation marks omitted)]; People v Yukl, 25 NY2d
        585, 589 [1969] [a suspect is in custody when a reasonable person innocent of any
        crime would not have believed he or she was free to leave the presence of the
        police]). With respect to immigration detainers, the federal courts have held that a
        continued detention on that basis after an inmate is entitled to release constitutes a
        new arrest (see Morales v Chadbourne, 793 F3d 208, 217 [1st Cir 2015] [since an
        individual was “kept in custody for a new purpose after she was entitled to release,
        she was subjected to a new seizure for Fourth Amendment purposes—one that must
        be supported by a new probable cause justification”]; Moreno v Napolitano, 213 F
        Supp 3d 999, 1005 [ND Ill 2016] [federal government conceded that detention of
        an individual pursuant to an ICE detainer constitutes an arrest]).


 Id. Because Francis was entitled to release after being sentenced to time served on his state

 charges but was nonetheless held following that date pursuant to an ICE warrant and detainer,




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 the Wells court found “he was subjected to a new arrest and seizure under both New York law

 and the Fourth Amendment of the United States Constitution.” Id. at 40.

        Having determined that there was a subsequent arrest pursuant to the ICE detainer, and

 after noting that the arrest warrant pursuant to which Francis was held was civil, as opposed to

 criminal, in nature, the Court then turned to the question of whether local law enforcement had

 authority to effectuate those arrests. Id. at 40-41.

        The court first looked to New York Statutory Law for authority for these arrests but

 found the civil warrants at issue did not fall under one of the “three types of warrants”

 recognized for bringing a defendant before a court. Id. at 42 (citing CPL 120.10; CPL 210.10;

 CPL 530.70). While the court recognized there are some additional situations in which a local

 law enforcement officer can make an arrest, all of those situations involve a judicial or quasi-

 judicial determination. Id. Further, the Wells court found these officers, while empowered to

 make warrantless arrests in some circumstances, are not authorized to effectuate warrantless

 arrests for civil violations. Id. at 43. Therefore, the Wells court concluded the officers had no

 authority under New York Statutory law to effectuate these arrests. Id. at 44.

        The court also rejected the SCSO and DOJ’s argument that “even if New York state and

 local law enforcement officers are not statutorily authorized to execute federal immigration arrest

 warrants, such arrests are nevertheless permissible under the broad state police powers

 recognized at common law, there being no New York statute that prohibits such arrests.” Id.

 The court found that, “while it may be acknowledged that New York possesses broad reserved

 police powers, it does not follow that the existence of such powers supports civil immigration

 arrests by state and local law enforcement.” Id. at 45.




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         The Wells court also declined to find that the fellow officer rule provided authority for

 these arrests. Id. at 47. The fellow officer rule allows a local law enforcement officer to “make a

 lawful arrest even without personal knowledge sufficient to establish probable cause, so long as

 the officer is acting upon the direction of an officer in possession of information sufficient to

 constitute probable cause for the arrest.” Id. (quoting People v Ketcham, 93 NY2d 416, 419

 (1999) (internal quotation marks omitted). The Wells court explained: “even if it is assumed

 that an ICE officer has probable cause to arrest for an immigration violation, the fellow officer,

 in this case the Sheriff’s officers, must still make a ‘lawful’ arrest. If there is no authority to

 arrest for a civil matter, such arrest cannot be considered ‘lawful.’ To adopt the position

 advocated by the Sheriff here would permit state and local law enforcement to assume the

 authority of an ICE officer, though not granted by state law, based upon nothing more than a

 request from ICE.” Id.

         Finally, the Wells court turned to the question of whether state and local law enforcement

 officers are authorized by federal law to make civil immigration arrest. Id. “Assuming, without

 deciding,” the Wells court wrote, “that the Congress may constitutionally convey authority to

 state and local officials to effectuate arrests which state law does not authorize, we conclude that

 the Congress has not done so with regard to the circumstances presented by this case.” Id. at 48.

         In reaching this conclusion, the court first looked to Rule 4 of the Federal Rules of

 Criminal Procedure, which governs the execution of federal arrest warrants. Id. The court found

 “[w]hile there is no question that New York law enforcement officers may execute federal court

 arrest warrants issued for the purpose of bringing to court individuals accused of the commission

 of federal immigration crimes, the ICE warrant at issue here was not issued in the context of a

 criminal action and was not signed by, or on behalf of, a court and was not returnable in a court.



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 Thus, the Federal Rules of Criminal Procedure do not empower New York state and local law

 enforcement officers to execute ICE administrative arrest warrants.” Id.

         The court then turned to the question of whether the SCSO was authorized under the INA

 to make these arrests. The court found the SCSO “does not have a 287 (g) agreement with DHS.

 Rather, the Sheriff has long had an agreement with the United States Marshals Service pursuant

 to which federal detainees may be housed at the Riverhead facility.” Id.

         After determining that there was no formal agreement pursuant to Section 287(g), the

 Wells court then addressed whether this conduct was authorized under subsection 287(g)(10),

 which allows “‘any officer or employee of a State or political subdivision of a State’ [to]

 ‘cooperate with the [Secretary] in the identification, apprehension, detention, or removal of

 aliens not lawfully present in the United States’ without any formal agreement.” Id. at 50

 (quoting 8 USC § 1357(g)(10)(B)). The Wells court found there was no informal agreement

 justifying these arrests:

         In those instances where the Congress has chosen to permit local officers to enforce
         federal immigration laws absent a formal 287 (g) agreement, it has explicitly
         allowed that power only in narrowly drawn circumstances. Given that Tenth
         Amendment concerns may prevent the Congress from mandating that local entities
         enforce immigration law (see City of El Cenizo, Texas v Texas, 890 F3d at 180-
         181), and the resulting circumspection with which the Congress has approached the
         issue of state and local involvement in matters of federal immigration policy, we
         cannot accede to the view that the Congress, through its provision for voluntary
         informal cooperation, thereby authorized state and local law enforcement officers
         to undertake actions not allowed them by state law.


 Id. at 52.

         In conclusion, the court explained the “narrow issue in this case is whether New York

 law permits New York state and local law enforcement officers to effectuate civil immigration

 arrests, and not whether federal civil immigration officers have the authority to effectuate such



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 arrests.” Id. at 53. The Court maintained it was not “decid[ing] any issues under federal law

 deputizing state and local law enforcement officers to act as federal immigration officers.” Id.

 “Determining only the narrow issue before us, we conclude that the Sheriff’s policy, issued on

 December 2, 2016, directing the retention of prisoners, who would otherwise be released,

 pursuant to ICE detainers and administrative warrants is unlawful, and that Francis’s detention

 by the Sheriff on December 11, 2017, which detention commenced after the termination of

 Francis’s court proceeding that day, was thus unlawful.” Id. Notably, the Wells court said it did

 not reach the question of whether there was a Fourth Amendment violation: “In view of our

 determination on a narrow issue of New York law, we need not consider the petitioner’s

 contention that Francis’s Fourth Amendment rights were violated.” Id. at 54 n. 9.

  D.    The Parties’ Summary Judgment Motions

        In their motion for summary judgment, Defendants first argue Plaintiffs’ claims that the

 County violated Plaintiffs’ rights under the federal and New York state constitutions should be

 dismissed as a matter of law. See generally Defs.’ Mem. Defendants first contend Plaintiffs do

 not have standing to sue the County for complying with federal detainer requests. Id. at 3-5, 7.

 Second, Defendants argue Plaintiffs claim that Defendants violated the state constitution should

 be dismissed as a matter of law because (i) Wells is not determinative of Plaintiffs’ constitutional

 claim, because (ii) any rule of liability stemming from Wells would be preempted, and because

 (iii) the Court should decline to exercise pendent jurisdiction. Id. at 6-11. Third, Defendants

 argue Plaintiffs’ federal claims must be dismissed because Plaintiffs have failed to meet the

 requirements of 42 U.S.C. § 1983 (“Section 1983”) and Monell v. Dep’t of Soc. Servs. of City of

 N.Y., 436 U.S. 658 (1978). Id. at 11-15. Fourth, Defendants argue Plaintiffs have failed to show,

 as a matter of law, Defendants violated Plaintiffs’ Fourteenth Amendment rights. Id. at 15-17.



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 Fifth and finally, Defendants argue they are entitled to summary judgment on Plaintiffs’ Fourth

 Amendment claims because the detainers were based on probable cause and because Plaintiffs

 did not possess a Fourth Amendment right to be brought before a magistrate within 48 hours. Id.

 at 17-25.

        Plaintiffs moved for summary judgment as to liability on their Fourth Amendment and

 state law claims. See generally Pls.’ Mem. Plaintiffs argue first that Defendants’ failure to serve

 detainer requests on Plaintiffs rendered those detainers unenforceable, in violation of state and

 federal law. Id. at 8-9. Plaintiffs then argue, under the Framework laid out in Monell, they are

 entitled to summary judgment on their federal claims. Id. at 10-14. Finally, Plaintiffs argue

 Defendants are liable as a matter of law with respect to Plaintiffs’ state law claims because Wells

 is binding on Defendants. Id. at 14-17.

                                   III.    STANDARD OF REVIEW

        Summary judgment is appropriate where “the movant shows that there is no genuine

 dispute as to any material fact and the movant is entitled to judgment as a matter of law” based

 on the materials in the record. Fed. R. Civ. P. 56(a). A genuine dispute exists if a reasonable

 jury could find in favor of the non-moving party. Anderson v. Liberty Lobby, Inc., 477 U.S. 242,

 248 (1986); see also Lovejoy-Wilson v. NOCO Motor Fuel, Inc., 263 F.3d 208, 212 (2d Cir.

 2001). Courts evaluating motions for summary judgment must “construe the facts in the light

 most favorable to the non-moving party and must resolve all ambiguities and draw all reasonable

 inferences against the movant.” Brod v. Omya, Inc., 653 F.3d 156, 164 (2d Cir. 2011) (citation

 and internal quotation marks omitted). Once the moving party offers evidence that there is no

 genuine issue of material fact, the non-moving party then “must show the presence of a genuine

 issue by coming forward with evidence that would be sufficient, if all reasonable inferences were



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 drawn in his favor, to establish the existence of that element at trial.” United States v. Rem, 38

 F.3d 634, 643 (2d Cir. 1994). The role of the district court is not to weigh the evidence and to

 determine the truth of the matter, but rather to answer “the threshold inquiry” of “whether there

 is the need for a trial.” Anderson, 477 U.S. at 249-50.

                                       IV.     APPLICABLE LAW

  E.     Federal Claims

                        a)       Section 1983:

         42 U.S.C. § 1983 (“Section 1983”) provides a cause of action to individuals challenging

 the constitutionality of actions taken by state or local government officials. Section 1983 states,

 in relevant part:

         Every person who, under color of any statute, ordinance, regulation, custom, or
         usage, of any State or Territory or the District of Columbia, subjects, or causes to
         be subjected, any citizen of the United States or other person within the jurisdiction
         thereof to the deprivation of any rights, privileges, or immunities secured by the
         Constitution and laws, shall be liable to the party injured in an action at law, suit in
         equity, or other proper proceeding for redress.


 42 U.S.C. § 1983. “In order to prevail on a claim against a municipality under section 1983

 based on acts of a public official, a plaintiff is required to prove: (1) actions taken under color of

 law; (2) deprivation of a constitutional or statutory right; (3) causation; (4) damages; and (5) that

 an official policy of the municipality caused the constitutional injury.” Roe v. City of Waterbury,

 542 F.3d 31, 36 (2d Cir. 2008) (citing Monell v. Dep’t of Social Servs., 436 U.S. 658, 690–91

 (1978)). While an “official policy” can be one embodied in a municipal regulation, it is not true

 that “senior officials must have formally adopted or promulgated a policy before their conduct

 may be treated as ‘official.’” Turpin v. Mailet, 619 F.2d 196, 200 (2d Cir. 1980). Indeed, if a




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 municipality “impliedly or tacitly authorized, approved or encouraged” certain conduct, “it

 promulgated an official policy within the meaning of Monell.” Id. at 201.

                          b)   Fourth Amendment:

        The Fourth Amendment of the United States Constitution protects against unreasonable

 searches and seizures:

        The right of the people to be secure in their persons, houses, papers, and effects,
        against unreasonable searches and seizures, shall not be violated, and no Warrants
        shall issue, but upon probable cause, supported by Oath or affirmation, and
        particularly describing the place to be searched, and the persons or things to be
        seized.


 U.S. Const. amend. IV.

        “The Fourth Amendment prohibits unreasonable seizures; it is not a general prohibition

 of all conduct that may be deemed unreasonable, unjustified or outrageous.” Medeiros v.

 O'Connell, 150 F.3d 164, 167 (2d Cir. 1998). The “first step in any Fourth Amendment claim

 (or, as in this case, any section 1983 claim predicated on the Fourth Amendment) is to determine

 whether there has been a constitutionally cognizable seizure.” Id.

        Once it has been determined that a seizure occurred, a court must then determine whether

 that seizure was reasonable. Caldarola v. Cnty. of Westchester, 343 F.3d 570, 574 (2d Cir. 2003).

 “Generally, a seizure amounting to an arrest ‘is not reasonable unless it is accomplished pursuant

 to a judicial warrant issued upon probable cause.’” Jones v. Cnty. of Suffolk, 936 F.3d 108, 114

 (2d Cir. 2019) (quoting Skinner v. Ry. Labor Execs.’ Ass'n,, 489 U.S. 602, 619, (1989).

                          c)   Fourteenth Amendment:

        The constitutional guarantees of procedural and substantive due process are found in the

 Fourteenth Amendment of the United States Constitution. U.S. Const. amend. XIV. “Procedural

 due process imposes constraints on governmental decisions which deprive individuals of ‘liberty’

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 or ‘property’ interests within the meaning of the Due Process Clause of the Fifth or Fourteenth

 Amendment.” Mathews v. Eldridge, 424 U.S. 319, 332 (1976). “Freedom from imprisonment—

 from government custody, detention, or other forms of physical restraint—lies at the heart of the

 liberty that Clause protects.” Zadvydas v. Davis, 533 U.S. 678, 690 (2001).

        As to substantive due process, “[w]hen a right is ‘fundamental,’ governmental regulation

 must be narrowly tailored to serve a compelling state interest. Rights are fundamental in the

 substantive due process framework when they are implicit in the concept of ordered liberty, or

 deeply rooted in this Nation’s history and tradition.” Molinari v. Bloomberg, 596 F. Supp. 2d

 546, 567 (E.D.N.Y.) (Sifton, J.), aff’d, 564 F.3d 587 (2d Cir. 2009).

  F.    State Law Claims

                        a)     N.Y. Const. Art. I § 12

        The protections against unreasonable searches or seizures guaranteed by the Fourth

 Amendment of the United States Constitution are mirrored in Article I, Section 12 of the New

 York State Constitution, which reads in relevant part:

        The right of the people to be secure in their persons, houses, papers and effects,
        against unreasonable searches and seizures, shall not be violated, and no warrants
        shall issue, but upon probable cause, supported by oath or affirmation, and
        particularly describing the place to be searched, and the persons or things to be
        seized.


 N.Y. Const. Art. I § 12. “Both the Fourth Amendment to the United States Constitution and Article

 I, § 12 of the New York Constitution prohibit ‘unreasonable searches and seizures’ (U.S. Const

 Amend IV; NY Const, art I, § 12). Under the Fourth Amendment, ‘a person is seized only when,

 by means of physical force or a show of authority, [their] freedom of movement is restrained’ and,

 to determine this, courts examine ‘all of the circumstances surrounding the incident’ and ask

 whether ‘a reasonable person would have believed that [they were] not free to leave.’” People v.

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 Rodriguez, 229 N.E.3d 1120, 1123–24 (2023) (quoting United States v. Mendenhall, 446 U.S. 544,

 553 [1980]).



                                            V.    ANALYSIS

        A.       Standing

        Article III of the United States Constitution limits federal courts to resolving “Cases” and

 “Controversies.” Art. III, § 2. Article III standing contains three elements: “First, the plaintiff

 must have suffered an injury in fact—an invasion of a legally protected interest which is (a)

 concrete and particularized; and (b) actual or imminent, not conjectural or hypothetical. Second,

 there must be a causal connection between the injury and the conduct complained of—the injury

 has to be fairly traceable to the challenged action of the defendant, and not the result of the

 independent action of some third party not before the court. Third, it must be likely, as opposed

 to merely speculative, that the injury will be redressed by a favorable decision.” Lujan v. Defs.

 of Wildlife, 504 U.S. 555, 560–61 (1992) (internal citations and quotation marks omitted)

 (cleaned up).

        Defendants argue the Court should not reach the merits because Plaintiffs “cannot

 establish even one of the three irreducible elements of standing, let alone all three.” Defs.’ Mem.

 at 4. They first cite United States v. Texas, 599 U.S. 670 (2023), for the proposition that standing

 cannot be established because “the judiciary’s interference” in the area of immigration policy is

 prohibited. Id. However, as Defendants correctly point out, Texas involved a challenge, brought

 by Texas and Louisiana, to DHS immigration enforcement Guidelines on the grounds the “new

 Guidelines violate federal statutes that purportedly require the Department to arrest more

 criminal noncitizens pending their removal.” Texas, 599 U.S. at 673-74. In other words, Texas



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 and Louisiana wanted the federal government to arrest more people than the new Guidelines

 permitted, arguing those Guidelines were inconsistent with the statute pursuant to which they

 were promulgated. Id. The Supreme Court found the states lacked standing for the same reason

 “a citizen lacks standing to contest the policies of the prosecuting authority when he himself is

 neither prosecuted nor threatened with prosecution.” Id. (quoting Linda R. S. v. Richard D., 410

 U. S. 614, 619, (1973)). Because the federal government’s decision not to prosecute did not

 “infringe upon interests that courts often are called upon to protect,” such as “an individual’s

 liberty or property,” the Court could not entertain the case. Id. at 678. Plaintiffs in this case

 clearly do allege their liberty interests were infringed. As such, the reasoning in Texas does not

 apply.

          With respect to injury-in-fact, Defendants contend Plaintiffs have not demonstrated a

 cognizable theory of harm because “an arrest pursuant to ICE detainers and warrants based on

 probable cause” does not constitute a Fourth Amendment violation. Defs.’ Mem at 5. However,

 Plaintiffs have alleged and provided evidentiary support for the proposition the detainers were

 ineffective, having never been served, as well as for the proposition Defendants lacked the

 statutory authority required to confer probable cause. See generally Pls.’ Mem; Exs. to Badini

 Decl.; 8 U.S.C. 1357(g). The Court finds Plaintiffs, who argue they were detained past the time

 the SCSO had authority to hold them, have satisfied the injury requirement of Article III

 standing.

          Defendants’ contention that Plaintiffs failed to establish causation fails for similar

 reasons. Defendants assert it was ICE, not Defendants, who were the cause of Plaintiffs harm.

 Defs.’ Mem. at 5. However, Plaintiffs allege it was Defendants who arrested them, without state

 or federal authority to do so, resulting in their loss of liberty. See generally SAC; Pls.’ Mem. It



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 is undisputed that the SCSO had a policy of honoring detainer requests absent a Section 287(g)

 agreement. See supra Part II-A. Indeed, Defendants assert their actions were “in compliance

 with N.Y. Const. art. I § 12.” Defs.’ Opp’n at 21. While that compliance is in dispute, there is

 no question that the SCSO’s arrest authority is generally derived from the state and its police

 power. This is not to say the alleged harms may not also be traceable to the actions of the federal

 government, but that does not negate the causation element with respect to Defendants.

        As for redressability, Defendants argue that, because Plaintiffs are noncitizens seeking

 money damages, the alleged harms cannot be redressed because this is not the type of case

 historically heard by the Court. Defs.’ Mem. at 6. However, as Plaintiffs note, whether a

 person’s rights can be vindicated in federal court does not turn on whether they are a citizen. See

 Pls.’ Opp’n at 15 (citing Zuniga-Perez v. Sessions, 897 F.3d 114, 122 (2d Cir. 2018); Miranda-

 Olivares v. Clackamas County, 12-CV-02317, 2014 WL 1414305 (D. Or. Apr. 11, 2014); INS v.

 Lopez-Mendoza, 468 U.S. 1032, 1046 (1984)). These kinds of harms have been redressed in the

 past and the Court sees no reason why that cannot be the case here.

        The Court is satisfied Plaintiffs have established the elements of Article III standing.

  B.    State Law Claims

        Plaintiffs allege Defendants “deprived Plaintiffs and other members of the proposed

 Class and Sub-Class of liberty without due process of law in contravention of the First Article of

 the New York Constitution.” SAC ¶ 63.

        Plaintiffs argue the Second Department’s decision in Wells is determinative of Plaintiffs’

 state law claims in this case and, as a result, they are entitled to summary judgment on those

 claims. Pls.’ Mem. at 14-17. Defendants argue they are entitled to summary judgment on

 Plaintiffs state law claims because the detention did not violate the constitution, the Supremacy



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 Clause preempts state law, and because the Court should decline to exercise pendent jurisdiction.

 See Defs.’ Mem. at 6-11; Defs.’ Opp’n at 20-24.

        As discussed above, the Second Department, in a case with the same Defendants,

 determined that civil arrests such as the ones in question are not authorized under New York law.

 See generally People ex rel. Wells v. DeMarco, 168 A.D.3d 31, 34 (N.Y. App. Div. 2d Dep’t

 2018); supra Part II-C. The Second Department’s determination that the SCSO’s policy of

 “directing the retention of prisoners, who would otherwise be released, pursuant to ICE detainers

 and administrative warrants” violates New York law is binding on Defendant’s under the

 doctrine of collateral estoppel. Wells, 168 A.D.3d at 53. “Under New York law, the doctrine of

 collateral estoppel, or issue preclusion, ‘bars a party from relitigating in a subsequent proceeding

 an issue clearly raised in a prior proceeding and decided against that party where the party to be

 precluded had a full and fair opportunity to contest the prior determination.’” Johnson v.

 Watkins, 101 F.3d 792, 794 (2d Cir. 1996) (quoting Weiss v. Manfredi, 83 N.Y.2d 974, 976

 (1994)). The exact issue addressed in Wells is at issue here. See supra Part II-C. Further, as

 Plaintiffs point out, the Wells proceeding “included several opportunities for the parties to be

 heard. Oral argument was held on December 12, 2017, before a panel of the Second

 Department. The Wells court also invited the parties and various amici to file supplemental

 pleadings and briefs, which they did.” Pls.’ Opp’n at 5. Defendants’ contention that the fact

 Wells was a habeas proceeding bars collateral estoppel is unavailing, as issues litigated in habeas

 corpus proceedings have provided the basis for collateral estoppel in this circuit in the past. See,

 e.g., Kulak v. City of New York, 88 F.3d 63, 71-72 (2d Cir. 1996).

        Nonetheless, Defendants argue the Court should reject the analysis of the Wells court,

 arguing its reasoning was “unsound.” Defs.’ Mem. at 8. Specifically, Defendants argue the



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 Wells decision “overlook[s] and disregard[s] the binding nature upon state courts of US Supreme

 Court determinations that an immigration detention is a civil arrest which may be effectuated

 pursuant to an administrative warrant issued by a federal agent in accordance with federal

 statutes.” Defs.’ Mem. at 8-9. However, as explained above, whether a state or local officer has

 authority to effectuate these arrests turns on whether Section 287(g) applies to those officers.

 The Wells court found federal law did not authorize the arrests because there was no Section

 287(g) agreement and the cooperation provision of 8 U.S.C. § 1357(g)(10) did not apply.

 Reading that subsection to allow local officers to effectuate arrests absent a formal agreement

 would, the Wells court reasoned, be in inconsistent with the purposes of Congress in enacting the

 legislation and would itself raise Tenth Amendment Concerns. See Wells, 168 A.D.3d at 52.

        We agree that federal law does not authorize these arrests. It is undisputed that the SCSO

 did not have a formal Section 287(g) agreement. Statement of Interest of the United States at 2,

 ECF No. 80; Brief Amicus Curiae of State of New York at 6, 11, ECF No. 159-1. Further, New

 York itself has stated that the cooperation provision of 8 U.S.C. § 1357(g)(10) does not apply

 here and would in fact be inconsistent with state law. Brief Amicus Curiae of State of New York

 at 11-12; see also Wells, 168 A.D.3d at 48-52. As discussed above, see supra Part I, whether a

 local law enforcement agency assists ICE in its apprehension of aliens pursuant to the INA is

 voluntary. The statute itself only contemplates such assistance where it is “consistent with State

 and local law.” 8 U.S.C. § 1357(g)(1). Where, as here, the law of the state prohibits the conduct

 that the cooperation subsection contemplates, that subsection cannot reasonably be interpreted as

 applying.

        Indeed, the suggestion that 8 U.S.C. § 1357(g)(10) renders all detainers issued to local

 law enforcement officials enforceable regardless of whether the state itself allows such



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 enforcement would potentially run afoul of the Tenth Amendment of the United States

 Constitution. See Galarza v. Szalczyk, 745 F.3d 634, 643 (3d Cir. 2014) (“Under the Tenth

 Amendment, immigration officials may not order state and local officials to imprison suspected

 aliens subject to removal at the request of the federal government.”); City of El Cenizo, Texas v.

 Texas, 890 F.3d 164, 178 (5th Cir. 2018) (“[T]he Tenth Amendment prevents Congress from

 compelling Texas municipalities to cooperate in immigration enforcement” (citing Printz v.

 United States, 521 U.S. 898 (1997))). The Court declines to read 8 U.S.C. § 1357(g)(10) as

 providing the authority for the SCSO to effectuate civil immigration arrests, without a formal

 agreement, when such arrests would contravene state law.

           The cases Defendants cite for the proposition that inconsistency with state law should

 have no bearing on the applicability of the INA detainer provisions are inapposite. City of El

 Cenizo, Texas v. Texas, 890 F.3d 164 (5th Cir. 2018), involved a Texas law that “specifically

 mandated that Texas law enforcement agencies comply with ICE detainer requests.” See 168 A.D.3d

 at 52 (citing 890 F.3d at 174). As such, the Court determined the cooperation provision of 8 U.S.C. §

 1357(g)(10) applied. While Defendants are correct that the court in Gonzalez v. United States

 Immigr. & Customs Enf’t, 975 F.3d 788 (9th Cir. 2020), stated the “constitutionality of a

 warrantless arrest under the Fourth Amendment does not depend on whether state law authorizes

 state or local officers to make the arrest, but on whether there is probable cause,” Defs.’ Mem. at

 22 (quoting Gonzalez, 975 F.3d at 818), Gonzalez involved no discussion of 1357(g) and instead

 was concerned with another statutory provision. Defendants have provided no caselaw

 suggesting an immigration arrest made in violation of state law and undertaken by local law

 enforcement officers who do not fall within the purview of 8 U.S.C. 1357(g) is nonetheless

 proper.



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           Defendants cite Arizona v. United States, 567 U.S. 387 (2012), for the proposition that

 Plaintiffs claims are preempted. Defs.’ Mem. at 21-24. However, unlike Arizona, this case does

 not implicate the Supremacy clause. In Arizona, the state passed a law that “attempt[ed] to

 provide state officers even greater authority to arrest aliens on the basis of possible removability

 than Congress has given to trained federal immigration officers.” Arizona, 567 U.S. at 408. By

 entrusting its state officers with authority beyond that envisioned by Congress, Arizona’s statute

 “violate[d] the principle that the removal process is entrusted to the discretion of the Federal

 Government.” Id. at 409. No legislation or policy, separate from that provided by Congress in 8

 U.S.C. § 1357(g) is at issue in this case. Rather, this case raises the question of whether, in the

 absence of a voluntary agreement or cooperation pursuant to 8 U.S.C. § 1357(g), local law

 enforcement can nonetheless effectuate civil arrests pursuant to ICE detainers using the process

 laid out in that statute. As the Court explained in Arizona, “federal law specifies limited

 circumstances in which state officers may perform the functions of an immigration officer.” Id.

 at 408. The question here is whether such a circumstance existed, and, if not, whether Plaintiffs

 rights were violated as a result.

           The Court declines to declare the reasoning of the Wells court “unsound.” Because the

 Wells court found the exact practice at issue here to be in violation of New York law, and

 because Defendants had a fair opportunity to litigate that issue, the doctrine of collateral estoppel

 precludes Defendants’ argument. Further, even addressing the issues on the merits, we agree

 with the Wells court. Summary judgment in favor of Plaintiffs is warranted as to the state law

 claims.

  C.       1983 Claims




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        Defendants seek summary judgment on Plaintiffs’ Fourth and Fourteenth Amendment

 Claims, arguing Plaintiffs have not satisfied the requirements of Section 1983 and Monell.

 Defs.’ Mem. at 11-15. Plaintiffs argue they are entitled to summary on their Fourth Amendment

 claim. Pls.’ Mem. at 8-14. We will analyze each Monell element in turn.

                        a)      Official Policy

        Defendants themselves admit they had an official policy of honoring detainer requests

 during the relevant time period. See supra Part II-A. Defendants argue, however, that because

 the SCSO was simply complying with the federal government’s policy, it is properly understood

 as a federal, as opposed to a municipal, policy. Defs.’ Mem. at 14. As a result, Defendants

 argue Plaintiffs cannot satisfy the first requirement of Monell. However, as discussed above, the

 power did not flow from the federal government. The County, without a formal agreement and

 in contravention of state law, honored immigration detainer requests and effectuated civil arrests,

 often without properly serving those detainers. The practice of honoring detainers without the

 authority of 8 U.S.C. § 1357 is a municipal policy.

                        b)      Causation

        Defendants also argue Plaintiffs have failed to show the policy caused the alleged harm,

 as required for Section 1983 claims, because ICE “was the moving force behind the alleged

 deprivations.” Defs.’ Mem. at 14. However, the policy adopted by the SCSO was distinct from

 ICE’s policy—indeed the issue stems from the fact the SCSO was acting without the federal

 statutory authority to do so. Additionally, as discussed supra Part V-A, while Defendants are

 correct that Plaintiffs’ alleged harm is also traceable to ICE, the actual issuer of the detainers,

 that is not to say the SCSO’s policy did not cause Plaintiffs’ harm. The record demonstrates the




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 Plaintiffs’ alleged Fourth Amendment violation was a result of the SCSO’s policy of honoring

 detainer requests.

                        c)     Deprivation of a Constitutional Right

        Plaintiffs move for summary judgment only with respect to their Fourth Amendment

 claim, while Defendants move for summary judgment on both the Fourth Amendment and

 Fourteenth Amendment claims.

                               (1)     Fourth Amendment

        Plaintiffs allege their Fourth Amendment rights were violated because they were seized

 by the SCSO after they otherwise would have been released without probable cause. As

 discussed above, where an individual is seized without probable cause to believe he or she

 committed a crime, that seizure generally contravenes the Fourth Amendment. See generally

 Bailey v. United States, 568 U.S. 186, 192 (2013). Because Plaintiffs bring this claim pursuant

 to Section 1983, which was enacted against the backdrop of common-law tort principles, “[t]o

 determine the precise contours of a constitutional claim under § 1983 . . . a court should identify

 the ‘most analogous’ common-law tort to the constitutional harm.” Chiaverini v. City of

 Napoleon, Ohio, 602 U.S. 556, 561 (2024) (quoting Manuel v. Joliet, 580 U.S. 357, 370 (2017)).

        “A § 1983 claim for false arrest, resting on the Fourth Amendment right of an individual

 to be free from unreasonable seizures, including arrest without probable cause is substantially the

 same as a claim for false arrest under New York law.” Burden v. Inc. Vill. of Port Jefferson, 664

 F. Supp. 3d 276, 284–85 (E.D.N.Y. 2023)(Brown, J.) (quoting Weyant v. Okst, 101 F.3d 845,

 852 (2d Cir. 1996)). A false arrest claim requires a Plaintiff to demonstrate the following

 elements: “(1) the defendant intended to confine the plaintiff, (2) the plaintiff was conscious of

 the confinement, (3) the plaintiff did not consent to the confinement, and (4) the confinement



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 was not otherwise privileged.” Id. at 285 (quoting Savino v. City of New York, 331 F.3d 63, 75

 (2d Cir. 2003)).

        Defendants argue the confinement was privileged because “an act of confinement is

 privileged if it stems from a lawful arrest supported by probable cause.” Defs. Mem. at 19

 (quoting Hernandez v. United States, 939 F.3d 191, 199 (2d Cir. 2019)). Defendants assert the

 ICE detainers provided probable cause. Id. They further contend it is immaterial that the arrests

 were civil in nature and ran contrary to state law. Id. at 15, 20-23.

        Defendants are correct that various courts have held the absence of state authority to

 effectuate an arrest does not automatically mean an arrestee’s Fourth Amendment rights were

 violated. In Virginia v. Moore, the Supreme Court addressed the question of “whether a police

 officer violates the Fourth Amendment by making an arrest based on probable cause but

 prohibited by state law.” 553 U.S. 164, 166 (2008). In that case, Virginia police officers

 arrested Moore for driving with a suspended license. Id. at 166-67. Under Virginia law, driving

 with a suspended license is not an “arrestable” offense, and therefore the issuance of a summons

 would have been the proper approach under Virginia law. Id. at 167. However, the Court found

 that the unlawfulness of the arrest under state law did not mean the officers had violated Moore’s

 Fourth Amendment when the seizure was otherwise reasonable and supported by probable cause:

 “We conclude that warrantless arrests for crimes committed in the presence of an arresting

 officer are reasonable under the Constitution, and that while States are free to regulate such

 arrests however they desire, state restrictions do not alter the Fourth Amendment’s protections.”

 Id. at 176; see also United States v. Turner, 553 F.3d 1337, 1342 (10th Cir. 2009) (“Fourth

 Amendment search and seizure protections do not turn on local law enforcement policies.”).




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         Defendants are also correct that certain courts have determined a civil immigration

 detainer, which is supported by the reasonable belief that a person is a removable alien, confers

 sufficient probable cause for an arrest under the Fourth Amendment. Defs.’ Mem at 20-23; see

 also 8 U.S.C. § 1357. Defendants cite Jimenez v. City of Cohoes Police Dep’t, for the

 proposition that circuits are split over the question of whether an ICE detainer and administrative

 warrant, which are civil in nature, provide probable cause under the Fourth Amendment for local

 law enforcement officers to effectuate an arrest. 23-955, 2024 WL 1551149, at *2 n.2 (2d Cir.

 Apr. 10, 2024) (describing circuit split). Defendants argue Jimenez suggests “that the Second

 Circuit would align with the well-reasoned and compelling decisions of circuits which have

 found that immigration detentions by local officials.” Defs.’ Mem. at 20.

         As a preliminary matter, the Court does not read Jimenez as coming down on one side or

 the other: Because the officers in Jimenez had criminal probable cause to arrest the plaintiff, the

 Court did not reach the issue of whether an arrest based solely on the ICE detainer would be

 improper. Jimenez, 2024 WL 1551149, at *2.

         However, of more significance here, the cases cited by the Jimenez court and Defendants

 differ in an important respect from the case before the Court today: The present case raises the

 question of whether, in the absence of federal authority, local law enforcement officers can

 effectuate civil immigration arrests that run contrary to state law, not whether the civil probable

 cause conferred by federal immigration officers on local officials is sufficient for Fourth

 Amendment purposes. Unlike the cited cases, that there is probable cause at all—for a civil

 violation or otherwise—is not a given here. If one assumes Section 287(g) is the vehicle which

 confers probable cause on local law enforcement, a premise which is disputed, 3 it follows that


 3
  8 U.S.C. 1357(g) does not contain any explicit language about probable cause. Instead, it empowers federal
 agents, and local law enforcement when they have been deputized pursuant to a formal agreement, to make arrests

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 local law enforcement agencies not falling under the purview of this section of the INA cannot

 rely on federal immigration officials’ probable cause determinations. See Abriq v. Hall, 295 F.

 Supp. 3d 874, 880 (M.D. Tenn. 2018) (explaining 8 U.S.C. § 1357 does not “give local agencies

 the authority to provide that housing without probable cause, especially where, as here, no § 287

 agreement exists between [the locality] and ICE”).

         We do not take a position as to whether local law enforcement officers violate the Fourth

 Amendment when making civil immigration arrests based on the “reasonable belief” conferred to

 local officials by federal immigration officers via the Immigration and Nationality Act.

 However, given that the SCSO derived no authority from provisions of 8 U.S.C. § 1357(g), as

 discussed above, we conclude the SCSO had no “reasonable belief,” much less probable cause,

 for these arrests as the existence of that belief or probable cause is premised on the applicability

 of the statute. And because an arrest absent probable cause violates the Fourth Amendment, see

 Jones v. Cnty. of Suffolk, 936 F.3d 108, 114 (2d Cir. 2019). we conclude Defendants’ seizures of

 Plaintiffs during the relevant period violated their Fourth Amendment rights.

                                    (2)      Fourteenth Amendment

         Plaintiffs assert Defendants violated Plaintiffs’ substantive due process and procedural

 due process rights, in violation of the Fourteenth Amendment of the United States Constitution.

 See SAC ¶¶ 67-73. Defendants argue Plaintiffs’ Fourteenth Amendment due process claims fail

 as a matter of law.




 when they have “reason to believe” an alien is in violation of certain laws. Certain courts do not believe this can
 form the basis of a lawful arrest. See Orellana v. Nobles Cnty., 230 F. Supp. 3d 934, 945 (D. Minn. 2017) (“having
 ‘reason to believe [that Orellana] is an alien subject to removal from the United States’ does not, without more,
 provide the probable cause needed to make a lawful arrest.” (quoting Arizona v. United States, 567 U.S. 387
 (2012))).



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        “To establish a violation of substantive due process rights, a plaintiff must demonstrate

 that the state action was ‘so egregious, so outrageous, that it may fairly be said to shock the

 contemporary conscience.’” Okin v. Vill. of Cornwall-On-Hudson Police Dep’t, 577 F.3d 415,

 431 (2d Cir. 2009) (quoting County of Sacramento v. Lewis, 523 U.S. 833, 847 n. 8, 118 S.Ct.

 1708, 140 L.Ed.2d 1043 (1998)).

        Defendants argue the substantive due process claim is improper because it is duplicative

 of Plaintiffs’ Fourth Amendment claim. Defs.’ Mem. at 16. Additionally, Defendants argue

 their conduct in the instant case does not rise to the level necessary to make out a substantive due

 process claim. Id. at 15-16.

        We agree this claim is duplicative. “In general, where ‘a particular amendment provides

 an explicit textual source of constitutional protection against a particular sort of government

 behavior, that Amendment, not the more generalized notion of substantive due process, must be

 the guide for analyzing these claims.’” Hawthorne by Hawthorne v. Cnty. of Putnam, 492 F.

 Supp. 3d 281, 303 (S.D.N.Y. 2020) (Román, J.), (quoting Singer v. Fulton Cty. Sheriff, 63 F.3d

 110, 115 (2d Cir. 1995)); see also Johnson v. City of Troy, 2016 WL 5107124, at *15 (N.D.N.Y.

 Sept. 20, 2016) (Suddaby, J.) (“a substantive due process claim may not be maintained where the

 alleged misconduct is covered by another constitutional provision”); Dorsainvil v. City of New

 York, 19-CV-2323, 2020 WL 6482348, at *6 (E.D.N.Y. Nov. 4, 2020) (Kovner, J.) (dismissing a

 substantive due process claim based on reckless investigation where the claim “sounds entirely

 in the Fourth Amendment.”). Here, Plaintiffs Fourteenth Amendment claims are premised on the

 same conduct underlying their Fourth Amendment claims. See SAC ¶¶ 67-73. For these

 reasons, Defendants’ motion for summary judgment as to Plaintiffs’ substantive due process

 claim is granted.



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        “A procedural due process claim is composed of two elements: (1) the existence of a

 property or liberty interest that was deprived and (2) deprivation of that interest without due

 process.” Radwan v. Manuel, 55 F.4th 101, 123 (2d Cir. 2022) (quoting Bryant v. N.Y. State

 Educ. Dep’t, 692 F.3d 202, 218 (2d Cir. 2012)). Procedural due process requires that deprivation

 of an individual’s liberty interest must “be preceded by notice and opportunity for hearing.”

 Cleveland Bd. of Educ v. Loudermill, 470 U.S. 532, 542 (1985).

        Defendants argue Plaintiffs’ procedural due process claim fails as a matter of law because

 Plaintiffs did not “possess a liberty interest which shielded them from being arrested pursuant to

 ICE detainer requests and arrest warrants since ‘[o]n a warrant issued by the Attorney General,

 an alien may be arrested and detained pending a decision on whether the alien is to be removed

 from the United States.’” Defs.’ Mem. at 17 (quoting 8 U.S.C. §1226(a)). However, as

 discussed above, we find Defendants did not derive authority from the relevant federal statutes in

 effectuating these arrests. The Court finds Plaintiffs have demonstrated a liberty interest, namely

 their right to be free from seizures absent probable cause.

        Defendants then argue Plaintiffs’ due process claim must be dismissed because it is

 “predicated on the alleged unconstitutionality of their detention.” Id. at 17. While it is true, as

 with substantive due process, that a plaintiff’s “procedural due process claim cannot be

 predicated upon the same factual basis as his Fourth Amendment false arrest and false

 imprisonment claims,” Levantino v. Skala, 56 F. Supp. 3d 191, 203 (E.D.N.Y. 2014) (Spatt, J.)

 (citing Osuna v. City of New York, 08-CV-4759, 2009 WL 2356424, at *6 (S.D.N.Y. July 30,

 2009) (Rakoff, J.)), it is less obvious here that the conduct underlying the procedural due process

 claim is identical to that underlying the Fourth Amendment claim. While the Court finds

 Plaintiffs have established a Fourth Amendment violation because they were arrested without



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 probable cause or the applicable statutory authority, they also assert facts related to Defendants’

 failures to serve detainers and Defendants’ failures to allow Plaintiffs to contest their detentions.

 See supra Part II-A; see also SAC ¶ 70 (alleging Plaintiffs had no opportunity to challenge their

 deprivation). The parties provide exceptionally little information concerning what opportunities

 Plaintiffs did have to challenge their detention. See generally Pls.’ Stmt; Defs.’ Stmt. As such,

 the Court finds there is a question of material fact as to whether the second prong of the

 procedural due process test has been met, rendering summary judgment for Defendants improper

 on this claim.



                                       VI.     CONCLUSION

        For the foregoing reasons, Plaintiffs’ motion for summary judgment as to liability is

 GRANTED, and Defendants’ motion for summary judgment is GRANTED with respect to

 Plaintiffs’ Fourteenth Amendment substantive due process claim and DENIED with respect to

 Plaintiffs’ other claims.



                                                        SO ORDERED.

                                                               s/ WFK
                                                        HON. WILLIAM F. KUNTZ, II
                                                        UNITED STATES DISTRICT JUDGE

 Dated: January 2, 2025
        Brooklyn, New York




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